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             EXHIBIT 9
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From: Michael Bloch
Sent: Tuesday, April 23, 2019 11:23 AM
To: 'Edward ReBrook, ESQ' <rebrooklaw@gmail.com>
Subject: RE: Sines v. Kessler

Dear Mr. ReBrook:

I never heard back from you on these issues.

In anticipation of our upcoming conference with the Court, please let me know whether or not Mr. Schoep intends to
produce his laptop or credentials to the accounts listed below. Please also let me know whether or not NSM or NF
intend to produce documents in the possession of any other custodian.

If I do not hear from you by close of business tomorrow, I will assume that your clients are unwilling to provide any
further discovery. Thanks.

Michael Bloch | Kaplan Hecker & Fink LLP
Counsel
350 Fifth Avenue | Suite 7110
New York, New York 10118
(W) 929.367.4573 | (M) 646.398.0345
mbloch@kaplanhecker.com


From: Edward ReBrook, ESQ <rebrooklaw@gmail.com>
Sent: Tuesday, April 9, 2019 11:17 AM
To: Michael Bloch <mbloch@kaplanhecker.com>
Subject: Re: Sines v. Kessler

Mr. Block:

I will review these requests with my client and get back to you; however, I am concerned that much of what you're
requesting is overly broad, duplicative, irrelevant, and/or privileged. My client ‐ Jeff Schoep ‐ cannot afford to relinquish
his computer, as he needs it for work, to communicate with me, and to prepare for Sines v. Kessler and other lawsuits.
Also, I believe that any request for electronic communications before the Unite the Right Rally was announced and after
the Rally ended are irrelevant. Obviously, one cannot incite violence in the past. Moreover, many of the things you are
asking for are not under the control or ownership of my client. He cannot give you what he doesn't have. I also have no
power to make persons unrelated to this litigation and not under the control of Mr. Schoep give me anything. Since Mr.
Schoep is the only named defendant for the NSM and the "Nationalist Front" (which was never a real, functioning
entity), only materials within his possession and control are subject to discovery.

Also, even if I did not have any objections to your requests, I am unsure if your demand can be met in the timeframe you
have requested. I am on family vacation from this evening through next Tuesday and will have very limited access to
email, if any, during that time.

Lastly, please forgive my ignorance, but who are you again? I imagine you are a plaintiff's attorney, which plaintiff?



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Best regards,

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On Mon, Apr 8, 2019 at 6:05 PM Michael Bloch <mbloch@kaplanhecker.com> wrote:

 Mr. ReBrook,



 We understand that you now represent Jeff Schoep, the National Socialist Movement (NSM), and the National
 Front (NF). Prior to your involvement in the case, on November 19, 2018, the Court ordered each Defendant to
 disclose in a sworn certification all social media accounts and electronic devices that contained potentially
 relevant documents or ESI (ECF 379, 383) so that those accounts and devices could be submitted to a third-
 party vendor for imaging and collection of responsive documents. Plaintiffs believe your clients failed to
 disclose in those certifications numerous social media accounts and electronic devices that we believe contain
 information responsive to Plaintiffs’ discovery requests. I am writing to ask that each Defendant you represent
 fill out a supplemental certification listing all social media accounts and electronic devices that contain
 potentially relevant documents or ESI. If you believe, for any reason, that such accounts or devices need not
 have been included on the sworn certifications, please let us know that as well. Once Defendants provide us
 with updated, complete certifications, we will provide those certifications to the third-party vendor for imaging
 and collection.



 Below is a list of Defendants’ social media accounts and electronic devices that Plaintiffs believe contain
 information responsive to Plaintiffs’ discovery requests that the Defendants failed to include in their original
 certifications. Many of these were identified by the Defendants themselves in sworn interrogatory
 responses. If Defendants are aware of additional accounts and devices that contain information responsive to
 Plaintiffs’ discovery requests, Defendants are obligated, as part of their continuing discovery obligations, to
 include those accounts and devices in these supplemental certifications as noted by the Court in the most recent
 status conference.



 Additionally, both NSM and NF identified Jeff Schoep as the sole custodian of documents in the possession of
 each of those entities. To the extent there are additional custodians from either of those entities who possess
 accounts and devices with information responsive to Plaintiffs’ discovery requests, those custodians should
 also be disclosed to Plaintiffs so that their documents can be produced. Please let us know if there are any such
 additional custodians.



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Lastly, as noted in an e-mail sent by Caitlin Fila on March 26, 2019, the third-party vendor needs confirmation
as to Mr. Schoep’s e-mail account in order to access his documents from Twitter. The address they have is
effschoep@nsm88, which seems like it may include a typographical error. Please confirm for the vendor the
correct e-mail address so that Mr. Schoep’s Twitter account can be collected and produced.



We request that you provide us (1) a supplemental certification; (2) the names of any additional custodian(s)
for NSM and NF; and (3) confirmation as to the email address associated with Mr. Schoep’s Twitter account
by Thursday, April 11, 2019. Thanks very much for your consideration.



Plaintiffs believe the following electronic devices and social media accounts may contain potentially relevant
information to this case:



    Gateway desktop computer




           o This was disclosed to Plaintiffs in an email on June 13, 2018 from Mr. Schoep’s former attorney,
               Mr. Kolenich, to Christopher Greene as an electronic device used by Mr. Schoep/NSM that
               contains potentially relevant documents.



    E-mail accounts: commander@newsaxon.org, jeffschoep@gmail.com, commander@newsects.org




           o Although the commander@newsaxon.org account was included in Mr. Schoep’s certification,
               Mr. Schoep identified this only as the account associated with his VKontakte (BK) account, so
               the contents of this e-mail address are not currently being collected by the vendor. Plaintiffs
               believe this account was used to communicate information concerning the events at issue in this
               case and therefore ask that this account be included in Mr. Schoep’s forthcoming certification
               so that the contents of the account may be captured in the ESI collection.



    Websites: nsm88.org, NSMradio.org; nsmmedia.org, nsm88records.com
    Bitchute account: NSMMedia
    Twitter account: @NSM88, @NSM_Media, @natfrontunity
    Youtube account: Identified in Mr. Schoep’s response to interrogatories as “NSM media or something
      similar”
    Website: www.nfunity.org




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